              Case 19-59680-pmb                   Doc 1     Filed 06/21/19 Entered 06/21/19 17:00:44                               Desc Main
                                                            Document     Page 1 of 36
Fill in this information to identify your case:

United States Bankruptcy Court for the:

NORTHERN DISTRICT OF GEORGIA

Case number (if known)                                                      Chapter       7
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           4/19
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and case number (if known).
For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                Jay2, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  1520 Avenue Place, Suite 130                                    2995 Manorview Lane
                                  Atlanta, GA 30329                                               Alpharetta, GA 30004
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  DeKalb                                                          Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)       www.freshtoorder.com


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor
                                                                 Document     Page 2 ofCase
                                                                                        36 number (if known)
          Jay2, Inc.
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
     debtor filing?                       Chapter 7
                                          Chapter 9
                                          Chapter 11. Check all that apply:
                                                                 Debtor's aggregate noncontingent liquidated debts (excluding debts owed to insiders or affiliates)
                                                                 are less than $2,725,625 (amount subject to adjustment on 4/01/22 and every 3 years after that).
                                                                 The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D). If the debtor is a small
                                                                 business debtor, attach the most recent balance sheet, statement of operations, cash-flow
                                                                 statement, and federal income tax return or if all of these documents do not exist, follow the
                                                                 procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12



9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                          Case number
                                                  District                                When                          Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                               Relationship
                                                  District                                When                         Case number, if known




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Debtor
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                                                                                     36 number (if known)
         Jay2, Inc.
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.

                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.


14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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          Jay2, Inc.
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is trued and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      June 21, 2019
                                                  MM / DD / YYYY


                             X   /s/ Jayen Patel                                                         Jayen Patel
                                 Signature of authorized representative of debtor                        Printed name

                                 Title




18. Signature of attorney    X   /s/ William A. Rountree                                                  Date June 21, 2019
                                 Signature of attorney for debtor                                              MM / DD / YYYY

                                 William A. Rountree
                                 Printed name

                                 Rountree, Leitman & Klein, LLC
                                 Firm name

                                 Century Plaza I
                                 2987 Clairmont Road, Ste 175
                                 Atlanta, GA 30329
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     404-584-1244                  Email address


                                 616503 GA
                                 Bar number and State




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                    page 4
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 Fill in this information to identify the case:

 Debtor name         Jay2, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          June 21, 2019                           X /s/ Jayen Patel
                                                                       Signature of individual signing on behalf of debtor

                                                                       Jayen Patel
                                                                       Printed name


                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
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 Fill in this information to identify the case:

 Debtor name            Jay2, Inc.

 United States Bankruptcy Court for the:                       NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                                                       Check if this is an
                                                                                                                                                                                       amended filing



Official Form 206Sum
Summary of Assets and Liabilities for Non-Individuals                                                                                                                                                   12/15

 Part 1:      Summary of Assets


 1.    Schedule A/B: Assets-Real and Personal Property (Official Form 206A/B)

       1a. Real property:
           Copy line 88 from Schedule A/B.............................................................................................................................                  $                    0.00

       1b. Total personal property:
           Copy line 91A from Schedule A/B.........................................................................................................................                     $            38,595.51

       1c. Total of all property:
           Copy line 92 from Schedule A/B...........................................................................................................................                    $            38,595.51


 Part 2:      Summary of Liabilities


 2.    Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
       Copy the total dollar amount listed in Column A, Amount of claim, from line 3 of Schedule D....................................                                                  $           385,394.15


 3.    Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

       3a. Total claim amounts of priority unsecured claims:
           Copy the total claims from Part 1 from line 5a of Schedule E/F..........................................................................                                     $              9,000.00

       3b. Total amount of claims of nonpriority amount of unsecured claims:
           Copy the total of the amount of claims from Part 2 from line 5b of Schedule E/F................................................                                             +$           183,941.29


 4.    Total liabilities .......................................................................................................................................................
       Lines 2 + 3a + 3b                                                                                                                                                           $             578,335.44




 Official Form 206Sum                                              Summary of Assets and Liabilities for Non-Individuals                                                                                 page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                                                          Best Case Bankruptcy
            Case 19-59680-pmb                         Doc 1           Filed 06/21/19 Entered 06/21/19 17:00:44                             Desc Main
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 Fill in this information to identify the case:

 Debtor name         Jay2, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 206A/B
Schedule A/B: Assets - Real and Personal Property                                                                                                          12/15
Disclose all property, real and personal, which the debtor owns or in which the debtor has any other legal, equitable, or future interest.
Include all property in which the debtor holds rights and powers exercisable for the debtor's own benefit. Also include assets and properties
which have no book value, such as fully depreciated assets or assets that were not capitalized. In Schedule A/B, list any executory contracts
or unexpired leases. Also list them on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G).

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. At the top of any pages added, write
the debtor’s name and case number (if known). Also identify the form and line number to which the additional information applies. If an
additional sheet is attached, include the amounts from the attachment in the total for the pertinent part.

 For Part 1 through Part 11, list each asset under the appropriate category or attach separate supporting schedules, such as a fixed asset
 schedule or depreciation schedule, that gives the details for each asset in a particular category. List each asset only once. In valuing the
 debtor’s interest, do not deduct the value of secured claims. See the instructions to understand the terms used in this form.
 Part 1:      Cash and cash equivalents
1. Does the debtor have any cash or cash equivalents?

        No. Go to Part 2.
         Yes Fill in the information below.
      All cash or cash equivalents owned or controlled by the debtor                                                                       Current value of
                                                                                                                                           debtor's interest

 3.        Checking, savings, money market, or financial brokerage accounts (Identify all)
           Name of institution (bank or brokerage firm)         Type of account                                 Last 4 digits of account
                                                                                                                number


           3.1.     Renasant Bank                                               Business Checking                                                          $845.51



 4.        Other cash equivalents (Identify all)

 5.        Total of Part 1.                                                                                                                            $845.51
           Add lines 2 through 4 (including amounts on any additional sheets). Copy the total to line 80.

 Part 2:          Deposits and Prepayments
6. Does the debtor have any deposits or prepayments?

        No. Go to Part 3.
        Yes Fill in the information below.


 Part 3:          Accounts receivable
10. Does the debtor have any accounts receivable?

        No. Go to Part 4.
        Yes Fill in the information below.

 11.       Accounts receivable
           11a. 90 days old or less:                                 2,000.00   -                                0.00 = ....                             $2,000.00
                                              face amount                           doubtful or uncollectible accounts




Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                                   page 1
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 Debtor         Jay2, Inc.                                                                    Case number (If known)
                Name


 12.       Total of Part 3.                                                                                                          $2,000.00
           Current value on lines 11a + 11b = line 12. Copy the total to line 82.

 Part 4:        Investments
13. Does the debtor own any investments?

        No. Go to Part 5.
        Yes Fill in the information below.


 Part 5:        Inventory, excluding agriculture assets
18. Does the debtor own any inventory (excluding agriculture assets)?

        No. Go to Part 6.
        Yes Fill in the information below.

           General description                        Date of the last        Net book value of      Valuation method used   Current value of
                                                      physical inventory      debtor's interest      for current value       debtor's interest
                                                                              (Where available)

 19.       Raw materials
           Supplies                                   4/19/19                           $1,600.00    Replacement                         $1,600.00



 20.       Work in progress
           Order materials                            4/19/19                             $250.00                                          $250.00



 21.       Finished goods, including goods held for resale

 22.       Other inventory or supplies
           Catering supplies                          4/19/19                           $2,200.00    Replacement                         $2,200.00



 23.       Total of Part 5.                                                                                                          $4,050.00
           Add lines 19 through 22. Copy the total to line 84.

 24.       Is any of the property listed in Part 5 perishable?
               No
               Yes

 25.       Has any of the property listed in Part 5 been purchased within 20 days before the bankruptcy was filed?
             No
             Yes. Book value                            Valuation method      Replacement        Current Value
                                                       2,350.00                        Cost                                      2,350.00

 26.       Has any of the property listed in Part 5 been appraised by a professional within the last year?
               No
               Yes

 Part 6:        Farming and fishing-related assets (other than titled motor vehicles and land)
27. Does the debtor own or lease any farming and fishing-related assets (other than titled motor vehicles and land)?

        No. Go to Part 7.
        Yes Fill in the information below.


 Part 7:        Office furniture, fixtures, and equipment; and collectibles
38. Does the debtor own or lease any office furniture, fixtures, equipment, or collectibles?

Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                page 2
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                Name



        No. Go to Part 8.
        Yes Fill in the information below.

            General description                                               Net book value of       Valuation method used   Current value of
                                                                              debtor's interest       for current value       debtor's interest
                                                                              (Where available)

 39.        Office furniture

 40.        Office fixtures

 41.        Office equipment, including all computer equipment and
            communication systems equipment and software
            computers, kitchen equipment,
            fixtures/furniture                                                              $0.00     Replacement                       $31,700.00



 42.        Collectibles Examples: Antiques and figurines; paintings, prints, or other artwork;
            books, pictures, or other art objects; china and crystal; stamp, coin, or baseball card
            collections; other collections, memorabilia, or collectibles

 43.        Total of Part 7.                                                                                                           $31,700.00
            Add lines 39 through 42. Copy the total to line 86.

 44.        Is a depreciation schedule available for any of the property listed in Part 7?
               No
               Yes

 45.        Has any of the property listed in Part 7 been appraised by a professional within the last year?
               No
               Yes

 Part 8:        Machinery, equipment, and vehicles
46. Does the debtor own or lease any machinery, equipment, or vehicles?

        No. Go to Part 9.
        Yes Fill in the information below.


 Part 9:        Real property
54. Does the debtor own or lease any real property?

        No. Go to Part 10.
        Yes Fill in the information below.


 Part 10:       Intangibles and intellectual property
59. Does the debtor have any interests in intangibles or intellectual property?

        No. Go to Part 11.
        Yes Fill in the information below.


 Part 11:       All other assets
70. Does the debtor own any other assets that have not yet been reported on this form?
    Include all interests in executory contracts and unexpired leases not previously reported on this form.

        No. Go to Part 12.
        Yes Fill in the information below.



Official Form 206A/B                                          Schedule A/B Assets - Real and Personal Property                                 page 3
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                 Name



 Part 12:        Summary

In Part 12 copy all of the totals from the earlier parts of the form
      Type of property                                                                               Current value of                    Current value of real
                                                                                                     personal property                   property

 80. Cash, cash equivalents, and financial assets.
     Copy line 5, Part 1                                                                                                 $845.51

 81. Deposits and prepayments. Copy line 9, Part 2.                                                                          $0.00

 82. Accounts receivable. Copy line 12, Part 3.                                                                       $2,000.00

 83. Investments. Copy line 17, Part 4.                                                                                      $0.00

 84. Inventory. Copy line 23, Part 5.                                                                                 $4,050.00

 85. Farming and fishing-related assets. Copy line 33, Part 6.                                                               $0.00

 86. Office furniture, fixtures, and equipment; and collectibles.
     Copy line 43, Part 7.                                                                                          $31,700.00

 87. Machinery, equipment, and vehicles. Copy line 51, Part 8.                                                               $0.00

 88. Real property. Copy line 56, Part 9.........................................................................................>                                $0.00

 89. Intangibles and intellectual property. Copy line 66, Part 10.                                                           $0.00

 90. All other assets. Copy line 78, Part 11.                                                    +                           $0.00

 91. Total. Add lines 80 through 90 for each column                                                              $38,595.51          + 91b.                      $0.00


 92. Total of all property on Schedule A/B. Add lines 91a+91b=92                                                                                                   $38,595.51




Official Form 206A/B                                               Schedule A/B Assets - Real and Personal Property                                                          page 4
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 Debtor name         Jay2, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                              Check if this is an
                                                                                                                                              amended filing

Official Form 206D
Schedule D: Creditors Who Have Claims Secured by Property                                                                                                     12/15
Be as complete and accurate as possible.
1. Do any creditors have claims secured by debtor's property?
         No. Check this box and submit page 1 of this form to the court with debtor's other schedules. Debtor has nothing else to report on this form.
         Yes. Fill in all of the information below.
 Part 1:      List Creditors Who Have Secured Claims
                                                                                                                    Column A                    Column B
 2. List in alphabetical order all creditors who have secured claims. If a creditor has more than one secured
 claim, list the creditor separately for each claim.                                                                Amount of claim             Value of collateral
                                                                                                                                                that supports this
                                                                                                                    Do not deduct the value     claim
                                                                                                                    of collateral.
       Small Business
 2.1                                                                                                                       $295,814.42                 $31,700.00
       Administration                                 Describe debtor's property that is subject to a lien
       Creditor's Name                                computers, kitchen equipment,
       2 North 20th Street                            fixtures/furniture
       Suite 320
       Birmingham, AL 35203
       Creditor's mailing address                     Describe the lien
                                                      Blanket Lein
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply
           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



       Small Business
 2.2                                                                                                                         $89,579.73                 $2,000.00
       Administration                                 Describe debtor's property that is subject to a lien
       Creditor's Name                                90 days or less: America Today
       2 North 20th Street
       Suite 320
       Birmingham, AL 35203
       Creditor's mailing address                     Describe the lien
                                                      Blanket Lein
                                                      Is the creditor an insider or related party?
                                                         No
       Creditor's email address, if known                 Yes
                                                      Is anyone else liable on this claim?
       Date debt was incurred                            No
                                                         Yes. Fill out Schedule H: Codebtors (Official Form 206H)
       Last 4 digits of account number

       Do multiple creditors have an                  As of the petition filing date, the claim is:
       interest in the same property?                 Check all that apply

Official Form 206D                                Schedule D: Creditors Who Have Claims Secured by Property                                                  page 1 of 2
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 Debtor       Jay2, Inc.                                                                         Case number (if know)
              Name

           No                                            Contingent
           Yes. Specify each creditor,                   Unliquidated
       including this creditor and its relative          Disputed
       priority.



 3.   Total of the dollar amounts from Part 1, Column A, including the amounts from the Additional Page, if any.          $385,394.15

 Part 2:    List Others to Be Notified for a Debt Already Listed in Part 1
 List in alphabetical order any others who must be notified for a debt already listed in Part 1. Examples of entities that may be listed are collection agencies,
 assignees of claims listed above, and attorneys for secured creditors.

 If no others need to notified for the debts listed in Part 1, do not fill out or submit this page. If additional pages are needed, copy this page.
         Name and address                                                                                      On which line in Part 1 did       Last 4 digits of
                                                                                                               you enter the related creditor?   account number for
                                                                                                                                                 this entity
        Renasant Bank
        5225 Windward Parkway                                                                             Line   2.1
        Alpharetta, GA 30004

        Renasant Bank
        5225 Windward Parkway                                                                             Line   2.2
        Alpharetta, GA 30004




Official Form 206D                   Additional Page of Schedule D: Creditors Who Have Claims Secured by Property                                          page 2 of 2
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             Case 19-59680-pmb                        Doc 1           Filed 06/21/19 Entered 06/21/19 17:00:44                                  Desc Main
                                                                     Document      Page 13 of 36
 Fill in this information to identify the case:

 Debtor name         Jay2, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                                Check if this is an
                                                                                                                                                amended filing


Official Form 206E/F
Schedule E/F: Creditors Who Have Unsecured Claims                                                                                                               12/15
Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY unsecured claims and Part 2 for creditors with NONPRIORITY unsecured claims.
List the other party to any executory contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule A/B: Assets - Real and
Personal Property (Official Form 206A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G). Number the entries in Parts 1 and
2 in the boxes on the left. If more space is needed for Part 1 or Part 2, fill out and attach the Additional Page of that Part included in this form.

 Part 1:      List All Creditors with PRIORITY Unsecured Claims

       1. Do any creditors have priority unsecured claims? (See 11 U.S.C. § 507).

             No. Go to Part 2.

             Yes. Go to line 2.

       2. List in alphabetical order all creditors who have unsecured claims that are entitled to priority in whole or in part. If the debtor has more than 3 creditors
          with priority unsecured claims, fill out and attach the Additional Page of Part 1.

                                                                                                                                  Total claim           Priority amount

 2.1       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                              $0.00      $0.00
           Georgia Department of Labor                               Check all that apply.
           148 Andew Young Int'l Blvd. NE                               Contingent
           Atlanta, GA 30303                                            Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes


 2.2       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                       $9,000.00         $9,000.00
           Georgia Department of Revenue                             Check all that apply.
           1800 Centrury Center Blvd                                    Contingent
           Suite 9100                                                   Unliquidated
           Atlanta, GA 30345                                            Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Sales tax
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes




Official Form 206E/F                                          Schedule E/F: Creditors Who Have Unsecured Claims                                                  page 1 of 6
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            Case 19-59680-pmb                          Doc 1          Filed 06/21/19 Entered 06/21/19 17:00:44                                           Desc Main
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 Debtor       Jay2, Inc.                                                                                      Case number (if known)
              Name

 2.3       Priority creditor's name and mailing address              As of the petition filing date, the claim is:                                       $0.00    $0.00
           Internal Revenue Service                                  Check all that apply.
           PO Box 7346                                                  Contingent
           Philadelphia, PA 19101                                       Unliquidated
                                                                        Disputed

           Date or dates debt was incurred                           Basis for the claim:
                                                                     Notice Only
           Last 4 digits of account number                           Is the claim subject to offset?
           Specify Code subsection of PRIORITY                          No
           unsecured claim: 11 U.S.C. § 507(a) (8)
                                                                        Yes



 Part 2:      List All Creditors with NONPRIORITY Unsecured Claims
       3. List in alphabetical order all of the creditors with nonpriority unsecured claims. If the debtor has more than 6 creditors with nonpriority unsecured claims, fill
          out and attach the Additional Page of Part 2.
                                                                                                                                                      Amount of claim

 3.1       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $83.85
           American Alarm Corporation Inc                                              Contingent
                                                                                       Unliquidated
           Date(s) debt was incurred                                                   Disputed
           Last 4 digits of account number      5282                               Basis for the claim:     Business debt
                                                                                   Is the claim subject to offset?     No       Yes

 3.2       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.              $44,926.57
           American Express                                                            Contingent
           PO Box 1270                                                                 Unliquidated
           Newark, NJ 07101                                                            Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Business debt
           Last 4 digits of account number      1006
                                                                                   Is the claim subject to offset?     No       Yes

 3.3       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                      $0.00
           American Fire & Safety                                                      Contingent
           1419 Woodmont Lane                                                          Unliquidated
           Atlanta, GA 30318                                                           Disputed
           Date(s) debt was incurred
                                                                                   Basis for the claim:     Business debt
           Last 4 digits of account number      2020
                                                                                   Is the claim subject to offset?     No       Yes

 3.4       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                    $96.90
           Atlanta Coffee Supply                                                       Contingent
                                                                                       Unliquidated
           Date(s) debt was incurred                                                   Disputed
           Last 4 digits of account number      inte                               Basis for the claim:     Business debt
                                                                                   Is the claim subject to offset?     No       Yes

 3.5       Nonpriority creditor's name and mailing address                         As of the petition filing date, the claim is: Check all that apply.                  $306.75
           Atlanta Restaurant Services                                                 Contingent
                                                                                       Unliquidated
           Date(s) debt was incurred                                                   Disputed
           Last 4 digits of account number      Emory                              Basis for the claim:     Business debt
                                                                                   Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                         Page 2 of 6
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 Debtor       Jay2, Inc.                                                                              Case number (if known)
              Name

 3.6      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Beverage Control                                                      Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number       0654                         Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.7      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $88,500.00
          Breit MF EP I, LLC                                                    Contingent
          Shopcore Properties                                                   Unliquidated
          P.O. Box 27627
                                                                                Disputed
          San Diego, CA 92198
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes

 3.8      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $86.00
          Cintas                                                                Contingent
          P.O. Box 630910                                                       Unliquidated
          Cincinnati, OH 45263-0910                                             Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number       8170
                                                                             Is the claim subject to offset?     No       Yes

 3.9      Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $350.00
          Comcast Business                                                      Contingent
          P.O. Box 71211                                                        Unliquidated
          Charlotte, NC 28272-1211                                              Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number       2510
                                                                             Is the claim subject to offset?     No       Yes

 3.10     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Comtrex Georgia                                                       Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number       0007                         Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.11     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Dekalb County Environ. Health                                         Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number       6254                         Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.12     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Dekalb County Sanitation                                              Contingent
          3720 Leroy Scott Dr.                                                  Unliquidated
          Decatur, GA 30032                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 3 of 6
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 Debtor       Jay2, Inc.                                                                              Case number (if known)
              Name

 3.13     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Dekalb County Watershed Dept                                          Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number                                    Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.14     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.           $14,000.00
          Dulwich Group                                                         Contingent
          232 19th Street                                                       Unliquidated
          Suite 7200                                                            Disputed
          Atlanta, GA 30303
                                                                             Basis for the claim:    Business debt
          Date(s) debt was incurred
          Last 4 digits of account number                                    Is the claim subject to offset?     No       Yes


 3.15     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                 $86.07
          Ecolab Pest                                                           Contingent
          26252 Network Place                                                   Unliquidated
          Chicago, IL 60673                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number       0101
                                                                             Is the claim subject to offset?     No       Yes

 3.16     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.                   $0.00
          Empire Distributors Inc.                                              Contingent
                                                                                Unliquidated
          Date(s) debt was incurred                                             Disputed
          Last 4 digits of account number       1531                         Basis for the claim:    Business debt
                                                                             Is the claim subject to offset?     No       Yes

 3.17     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $2,500.00
          Fresh Harvest                                                         Contingent
          1230A Six Flags Road                                                  Unliquidated
          Austell, GA 30168                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number       mory
                                                                             Is the claim subject to offset?     No       Yes

 3.18     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.               $221.40
          Gas South                                                             Contingent
          P.O. Box 530552                                                       Unliquidated
          Atlanta, GA 30353-0552                                                Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number       8610
                                                                             Is the claim subject to offset?     No       Yes

 3.19     Nonpriority creditor's name and mailing address                    As of the petition filing date, the claim is: Check all that apply.             $3,500.00
          Georgia Power                                                         Contingent
          241 Ralph McGill Blvd NE                                              Unliquidated
          Atlanta, GA 30308                                                     Disputed
          Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
          Last 4 digits of account number
                                                                             Is the claim subject to offset?     No       Yes




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                Page 4 of 6
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 Debtor       Jay2, Inc.                                                                              Case number (if known)
              Name

 3.20      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $1,105.69
           Halperns Steak & Seafood                                             Contingent
           P.O. Box 116421                                                      Unliquidated
           Atlanta, GA 30368                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business Debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.21      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $1,600.00
           JAN-PRO of Atlanta                                                   Contingent
           1341 Capital Circle                                                  Unliquidated
           Suite 100                                                            Disputed
           Marietta, GA 30067
                                                                             Basis for the claim:    Business debt
           Date(s) debt was incurred
           Last 4 digits of account number                                   Is the claim subject to offset?      No       Yes


 3.22      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $5,363.74
           Renasant Visa                                                        Contingent
           5225 Windward Parkway                                                Unliquidated
           Alpharetta, GA 30004                                                 Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.23      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.                 $577.00
           Simplicitea                                                          Contingent
           2571 Andover Drive                                                   Unliquidated
           Atlanta, GA 30360                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
           Last 4 digits of account number
                                                                             Is the claim subject to offset?      No       Yes

 3.24      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.             $16,588.92
           Sysco Foods                                                          Contingent
           2225 Riverdale Rd.                                                   Unliquidated
           College Park, GA 30337                                               Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
           Last 4 digits of account number      2003
                                                                             Is the claim subject to offset?      No       Yes

 3.25      Nonpriority creditor's name and mailing address                   As of the petition filing date, the claim is: Check all that apply.               $4,048.40
           Wellstar                                                             Contingent
           PO Box 277356                                                        Unliquidated
           Atlanta, GA 30384                                                    Disputed
           Date(s) debt was incurred
                                                                             Basis for the claim:    Business debt
           Last 4 digits of account number      8956
                                                                             Is the claim subject to offset?      No       Yes



 Part 3:      List Others to Be Notified About Unsecured Claims

4. List in alphabetical order any others who must be notified for claims listed in Parts 1 and 2. Examples of entities that may be listed are collection agencies,
   assignees of claims listed above, and attorneys for unsecured creditors.

   If no others need to be notified for the debts listed in Parts 1 and 2, do not fill out or submit this page. If additional pages are needed, copy the next page.

           Name and mailing address                                                                   On which line in Part1 or Part 2 is the        Last 4 digits of
                                                                                                      related creditor (if any) listed?              account number, if
                                                                                                                                                     any
 4.1       United Bureau Collection Agcy
           5620 Southwyck Blvd                                                                        Line     3.25
           Toledo, OH 43614
                                                                                                             Not listed. Explain



Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                                  Page 5 of 6
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 Debtor       Jay2, Inc.                                                                          Case number (if known)
              Name


 Part 4:      Total Amounts of the Priority and Nonpriority Unsecured Claims

5. Add the amounts of priority and nonpriority unsecured claims.
                                                                                                                  Total of claim amounts
 5a. Total claims from Part 1                                                                       5a.       $                      9,000.00
 5b. Total claims from Part 2                                                                       5b.   +   $                    183,941.29

 5c. Total of Parts 1 and 2
     Lines 5a + 5b = 5c.                                                                            5c.       $                      192,941.29




Official Form 206 E/F                                         Schedule E/F: Creditors Who Have Unsecured Claims                                          Page 6 of 6
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 Fill in this information to identify the case:

 Debtor name         Jay2, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                   amended filing


Official Form 206G
Schedule G: Executory Contracts and Unexpired Leases                                                                                               12/15
Be as complete and accurate as possible. If more space is needed, copy and attach the additional page, number the entries consecutively.

1.    Does the debtor have any executory contracts or unexpired leases?
        No. Check this box and file this form with the debtor's other schedules. There is nothing else to report on this form.
          Yes. Fill in all of the information below even if the contacts of leases are listed on Schedule A/B: Assets - Real and Personal          Property
(Official Form 206A/B).

 2. List all contracts and unexpired leases                                      State the name and mailing address for all other parties with
                                                                                 whom the debtor has an executory contract or unexpired
                                                                                 lease

 2.1.        State what the contract or                   Restaurant
             lease is for and the nature of
             the debtor's interest

                  State the term remaining                36 months                  Breit MF EP I, LLC
                                                                                     Shopcore Properties
             List the contract number of any                                         P.O. Box 27627
                   government contract                                               San Diego, CA 92198




Official Form 206G                               Schedule G: Executory Contracts and Unexpired Leases                                             Page 1 of 1
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 Fill in this information to identify the case:

 Debtor name         Jay2, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                Check if this is an
                                                                                                                                amended filing


Official Form 206H
Schedule H: Your Codebtors                                                                                                                       12/15

Be as complete and accurate as possible. If more space is needed, copy the Additional Page, numbering the entries consecutively. Attach the
Additional Page to this page.

      1. Do you have any codebtors?

    No. Check this box and submit this form to the court with the debtor's other schedules. Nothing else needs to be reported on this form.
    Yes

   2. In Column 1, list as codebtors all of the people or entities who are also liable for any debts listed by the debtor in the schedules of
      creditors, Schedules D-G. Include all guarantors and co-obligors. In Column 2, identify the creditor to whom the debt is owed and each schedule
      on which the creditor is listed. If the codebtor is liable on a debt to more than one creditor, list each creditor separately in Column 2.
            Column 1: Codebtor                                                                        Column 2: Creditor



             Name                              Mailing Address                                    Name                           Check all schedules
                                                                                                                                 that apply:

    2.1      Jayen Patel                       1545 Mayfield Road                                 Small Business                    D   2.1
                                               Alpharetta, GA 30009                               Administration                    E/F
                                                                                                                                    G




    2.2      Jayen Patel                       1545 Mayfield Road                                 American Express                  D
                                               Alpharetta, GA 30009                                                                 E/F       3.2
                                                                                                                                    G




    2.3      Jayen Patel                       1545 Mayfield Road                                 Renasant Visa                     D
                                               Alpharetta, GA 30009                                                                 E/F       3.22
                                                                                                                                    G




    2.4      Narenda Patel                     10375 Autry Place                                  Small Business                    D   2.1
                                               Alpharetta, GA 30022                               Administration                    E/F
                                                                                                                                    G




    2.5      Nareshm Inc.                      10900 Medlock Bridge Road                          Small Business                    D
                                               Suite 201                                          Administration                    E/F
                                               Alpharetta, GA 30022                                                                 G




Official Form 206H                                                            Schedule H: Your Codebtors                                      Page 1 of 2
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 Debtor       Jay2, Inc.                                                                     Case number (if known)


            Additional Page to List More Codebtors
           Copy this page only if more space is needed. Continue numbering the lines sequentially from the previous page.
            Column 1: Codebtor                                                         Column 2: Creditor



    2.6      Nareshm Inc.                      10900 Medlock Bridge Road                          Small Business            D
                                               Suite 201                                          Administration            E/F
                                               Alpharetta, GA 30022                                                         G




Official Form 206H                                                            Schedule H: Your Codebtors                              Page 2 of 2
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 Fill in this information to identify the case:

 Debtor name         Jay2, Inc.

 United States Bankruptcy Court for the:            NORTHERN DISTRICT OF GEORGIA

 Case number (if known)
                                                                                                                                           Check if this is an
                                                                                                                                           amended filing



Official Form 207
Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                                                                         04/19
The debtor must answer every question. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write the debtor’s name and case number (if known).

 Part 1:      Income

1. Gross revenue from business

           None.

       Identify the beginning and ending dates of the debtor’s fiscal year,                    Sources of revenue                          Gross revenue
       which may be a calendar year                                                            Check all that apply                        (before deductions and
                                                                                                                                           exclusions)

       For prior year:                                                                             Operating a business                                 $918,735.42
       From 1/01/2018 to 12/31/2018
                                                                                                   Other


       For year before that:                                                                       Operating a business                             $1,043,541.30
       From 1/01/2017 to 12/31/2017
                                                                                                   Other

2. Non-business revenue
   Include revenue regardless of whether that revenue is taxable. Non-business income may include interest, dividends, money collected from lawsuits,
   and royalties. List each source and the gross revenue for each separately. Do not include revenue listed in line 1.

           None.

                                                                                               Description of sources of revenue           Gross revenue from
                                                                                                                                           each source
                                                                                                                                           (before deductions and
                                                                                                                                           exclusions)

 Part 2:      List Certain Transfers Made Before Filing for Bankruptcy

3. Certain payments or transfers to creditors within 90 days before filing this case
   List payments or transfers--including expense reimbursements--to any creditor, other than regular employee compensation, within 90 days before
   filing this case unless the aggregate value of all property transferred to that creditor is less than $6,825. (This amount may be adjusted on 4/01/22
   and every 3 years after that with respect to cases filed on or after the date of adjustment.)

           None.

       Creditor's Name and Address                                         Dates                 Total amount of value         Reasons for payment or transfer
                                                                                                                               Check all that apply
       3.1.
               Sysco Foods                                                 Various                          $57,934.00           Secured debt
               2225 Riverdale Rd.                                                                                                Unsecured loan repayments
               College Park, GA 30337
                                                                                                                                 Suppliers or vendors
                                                                                                                                 Services
                                                                                                                                 Other



Official Form 207                                   Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy                                     page 1
Software Copyright (c) 1996-2019 Best Case, LLC - www.bestcase.com                                                                                  Best Case Bankruptcy
              Case 19-59680-pmb                       Doc 1           Filed 06/21/19 Entered 06/21/19 17:00:44                                  Desc Main
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 Debtor       Jay2, Inc.                                                                                Case number (if known)



       Creditor's Name and Address                                         Dates                 Total amount of value           Reasons for payment or transfer
                                                                                                                                 Check all that apply
       3.2.
               Fresh Harvest                                               Various                          $13,600.00                Secured debt
               1230A Six Flags Road                                                                                                   Unsecured loan repayments
               Austell, GA 30168
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.3.
               Renasant Bank                                               Various                          $24,000.00                Secured debt
               5225 Windward Parkway                                                                                                  Unsecured loan repayments
               Alpharetta, GA 30004
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other


       3.4.
               Breit MF EP I, LLC                                          Various                          $13,000.00                Secured debt
               Shopcore Properties                                                                                                    Unsecured loan repayments
               P.O. Box 27627                                                                                                         Suppliers or vendors
               San Diego, CA 92198                                                                                                    Services
                                                                                                                                      Other Rent


       3.5.
               Georgia Power                                               Various                            $9,000.00               Secured debt
               241 Ralph McGill Blvd NE                                                                                               Unsecured loan repayments
               Atlanta, GA 30308
                                                                                                                                      Suppliers or vendors
                                                                                                                                      Services
                                                                                                                                      Other



4. Payments or other transfers of property made within 1 year before filing this case that benefited any insider
   List payments or transfers, including expense reimbursements, made within 1 year before filing this case on debts owed to an insider or guaranteed
   or cosigned by an insider unless the aggregate value of all property transferred to or for the benefit of the insider is less than $6,825. (This amount
   may be adjusted on 4/01/22 and every 3 years after that with respect to cases filed on or after the date of adjustment.) Do not include any payments
   listed in line 3. Insiders include officers, directors, and anyone in control of a corporate debtor and their relatives; general partners of a partnership
   debtor and their relatives; affiliates of the debtor and insiders of such affiliates; and any managing agent of the debtor. 11 U.S.C. § 101(31).

          None.

       Insider's name and address                                          Dates                 Total amount of value           Reasons for payment or transfer
       Relationship to debtor
       4.1.    Jayen Patel                                                                                         $0.00         SBA payments
               1545 Mayfield Road
               Alpharetta, GA 30009
               Principal

       4.2.    Narendra Patel                                                                                      $0.00         SBA payments
               10375 Autry Place
               Alpharetta, GA 30022

5. Repossessions, foreclosures, and returns
   List all property of the debtor that was obtained by a creditor within 1 year before filing this case, including property repossessed by a creditor, sold at
   a foreclosure sale, transferred by a deed in lieu of foreclosure, or returned to the seller. Do not include property listed in line 6.

          None

       Creditor's name and address                              Describe of the Property                                       Date                   Value of property


6. Setoffs
   List any creditor, including a bank or financial institution, that within 90 days before filing this case set off or otherwise took anything from an account
   of the debtor without permission or refused to make a payment at the debtor’s direction from an account of the debtor because the debtor owed a
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 Debtor       Jay2, Inc.                                                                                   Case number (if known)



    debt.

           None

       Creditor's name and address                              Description of the action creditor took                        Date action was                    Amount
                                                                                                                               taken

 Part 3:      Legal Actions or Assignments

7. Legal actions, administrative proceedings, court actions, executions, attachments, or governmental audits
   List the legal actions, proceedings, investigations, arbitrations, mediations, and audits by federal or state agencies in which the debtor was involved
   in any capacity—within 1 year before filing this case.

           None.

               Case title                                       Nature of case               Court or agency's name and                 Status of case
               Case number                                                                   address
       7.1.    Breit MF EP I, LLC v. Jay2,                      Civil, nonpayment            State Court of Dekalb                         Pending
               Inc., d/b/a Fresh 2 Order                        of rent                      County                                        On appeal
               18D62176A
                                                                                                                                           Concluded


8. Assignments and receivership
   List any property in the hands of an assignee for the benefit of creditors during the 120 days before filing this case and any property in the hands of a
   receiver, custodian, or other court-appointed officer within 1 year before filing this case.

           None


 Part 4:      Certain Gifts and Charitable Contributions

9. List all gifts or charitable contributions the debtor gave to a recipient within 2 years before filing this case unless the aggregate value of
   the gifts to that recipient is less than $1,000

           None

               Recipient's name and address                     Description of the gifts or contributions                  Dates given                               Value


 Part 5:      Certain Losses

10. All losses from fire, theft, or other casualty within 1 year before filing this case.

           None

       Description of the property lost and                     Amount of payments received for the loss                   Dates of loss               Value of property
       how the loss occurred                                                                                                                                        lost
                                                                If you have received payments to cover the loss, for
                                                                example, from insurance, government compensation, or
                                                                tort liability, list the total received.

                                                                List unpaid claims on Official Form 106A/B (Schedule
                                                                A/B: Assets – Real and Personal Property).

 Part 6:      Certain Payments or Transfers

11. Payments related to bankruptcy
    List any payments of money or other transfers of property made by the debtor or person acting on behalf of the debtor within 1 year before the filing
    of this case to another person or entity, including attorneys, that the debtor consulted about debt consolidation or restructuring, seeking bankruptcy
    relief, or filing a bankruptcy case.

           None.

                Who was paid or who received                         If not money, describe any property transferred            Dates                    Total amount or
                the transfer?                                                                                                                                     value
                Address



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 Debtor        Jay2, Inc.                                                                                Case number (if known)



                 Who was paid or who received                        If not money, describe any property transferred           Dates                Total amount or
                 the transfer?                                                                                                                               value
                 Address
       11.1.     Rountree, Leitman & Klein,
                 LLC
                 2987 Clairmont Road
                 Suite 175
                 Atlanta, GA 30329                                                                                             June 2019                  $1,000.00

                 Email or website address


                 Who made the payment, if not debtor?
                 Debtor and Principal



12. Self-settled trusts of which the debtor is a beneficiary
    List any payments or transfers of property made by the debtor or a person acting on behalf of the debtor within 10 years before the filing of this case
    to a self-settled trust or similar device.
    Do not include transfers already listed on this statement.

           None.

       Name of trust or device                                       Describe any property transferred                Dates transfers               Total amount or
                                                                                                                      were made                              value

13. Transfers not already listed on this statement
    List any transfers of money or other property by sale, trade, or any other means made by the debtor or a person acting on behalf of the debtor within
    2 years before the filing of this case to another person, other than property transferred in the ordinary course of business or financial affairs. Include
    both outright transfers and transfers made as security. Do not include gifts or transfers previously listed on this statement.

           None.

                Who received transfer?                          Description of property transferred or                   Date transfer              Total amount or
                Address                                         payments received or debts paid in exchange              was made                            value

 Part 7:       Previous Locations

14. Previous addresses
    List all previous addresses used by the debtor within 3 years before filing this case and the dates the addresses were used.


           Does not apply

                 Address                                                                                                   Dates of occupancy
                                                                                                                           From-To

 Part 8:       Health Care Bankruptcies

15. Health Care bankruptcies
    Is the debtor primarily engaged in offering services and facilities for:
    - diagnosing or treating injury, deformity, or disease, or
    - providing any surgical, psychiatric, drug treatment, or obstetric care?

            No. Go to Part 9.
            Yes. Fill in the information below.


                 Facility name and address                      Nature of the business operation, including type of services               If debtor provides meals
                                                                the debtor provides                                                        and housing, number of
                                                                                                                                           patients in debtor’s care

 Part 9:       Personally Identifiable Information




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16. Does the debtor collect and retain personally identifiable information of customers?

            No.
            Yes. State the nature of the information collected and retained.

                  last 4 digits of credit card number
                  Does the debtor have a privacy policy about that information?
                      No
                      Yes

17. Within 6 years before filing this case, have any employees of the debtor been participants in any ERISA, 401(k), 403(b), or other pension or
    profit-sharing plan made available by the debtor as an employee benefit?

            No. Go to Part 10.
            Yes. Does the debtor serve as plan administrator?


 Part 10:     Certain Financial Accounts, Safe Deposit Boxes, and Storage Units

18. Closed financial accounts
    Within 1 year before filing this case, were any financial accounts or instruments held in the debtor’s name, or for the debtor’s benefit, closed, sold,
    moved, or transferred?
    Include checking, savings, money market, or other financial accounts; certificates of deposit; and shares in banks, credit unions, brokerage houses,
    cooperatives, associations, and other financial institutions.

          None
              Financial Institution name and                    Last 4 digits of          Type of account or          Date account was           Last balance
              Address                                           account number            instrument                  closed, sold,          before closing or
                                                                                                                      moved, or                       transfer
                                                                                                                      transferred

19. Safe deposit boxes
    List any safe deposit box or other depository for securities, cash, or other valuables the debtor now has or did have within 1 year before filing this
    case.


          None

       Depository institution name and address                        Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?
                                                                      Address

20. Off-premises storage
    List any property kept in storage units or warehouses within 1 year before filing this case. Do not include facilities that are in a part of a building in
    which the debtor does business.


          None

       Facility name and address                                      Names of anyone with                Description of the contents          Do you still
                                                                      access to it                                                             have it?


 Part 11:     Property the Debtor Holds or Controls That the Debtor Does Not Own

21. Property held for another
    List any property that the debtor holds or controls that another entity owns. Include any property borrowed from, being stored for, or held in trust. Do
    not list leased or rented property.

        None


 Part 12:     Details About Environment Information

For the purpose of Part 12, the following definitions apply:
     Environmental law means any statute or governmental regulation that concerns pollution, contamination, or hazardous material, regardless of the
     medium affected (air, land, water, or any other medium).
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      Site means any location, facility, or property, including disposal sites, that the debtor now owns, operates, or utilizes or that the debtor formerly
      owned, operated, or utilized.

      Hazardous material means anything that an environmental law defines as hazardous or toxic, or describes as a pollutant, contaminant, or a
      similarly harmful substance.

Report all notices, releases, and proceedings known, regardless of when they occurred.

22. Has the debtor been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

            No.
            Yes. Provide details below.

       Case title                                                     Court or agency name and            Nature of the case                            Status of case
       Case number                                                    address

23. Has any governmental unit otherwise notified the debtor that the debtor may be liable or potentially liable under or in violation of an
    environmental law?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

24. Has the debtor notified any governmental unit of any release of hazardous material?

            No.
            Yes. Provide details below.

       Site name and address                                          Governmental unit name and              Environmental law, if known               Date of notice
                                                                      address

 Part 13:     Details About the Debtor's Business or Connections to Any Business

25. Other businesses in which the debtor has or has had an interest
    List any business for which the debtor was an owner, partner, member, or otherwise a person in control within 6 years before filing this case.
    Include this information even if already listed in the Schedules.

          None

    Business name address                                     Describe the nature of the business              Employer Identification number
                                                                                                               Do not include Social Security number or ITIN.

                                                                                                               Dates business existed

26. Books, records, and financial statements
    26a. List all accountants and bookkeepers who maintained the debtor’s books and records within 2 years before filing this case.
             None

       Name and address                                                                                                                        Date of service
                                                                                                                                               From-To
       26a.1.       Krishnan Company                                                                                                           2014-present
                    746 Holcomb Bridge Road
                    Norcross, GA 30071

    26b. List all firms or individuals who have audited, compiled, or reviewed debtor’s books of account and records or prepared a financial statement
         within 2 years before filing this case.

              None


    26c. List all firms or individuals who were in possession of the debtor’s books of account and records when this case is filed.



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              None

       Name and address                                                                                      If any books of account and records are
                                                                                                             unavailable, explain why

    26d. List all financial institutions, creditors, and other parties, including mercantile and trade agencies, to whom the debtor issued a financial
         statement within 2 years before filing this case.

              None

       Name and address

27. Inventories
    Have any inventories of the debtor’s property been taken within 2 years before filing this case?

            No
            Yes. Give the details about the two most recent inventories.

               Name of the person who supervised the taking of the                          Date of inventory        The dollar amount and basis (cost, market,
               inventory                                                                                             or other basis) of each inventory

28. List the debtor’s officers, directors, managing members, general partners, members in control, controlling shareholders, or other people
    in control of the debtor at the time of the filing of this case.

       Name                                           Address                                             Position and nature of any            % of interest, if
                                                                                                          interest                              any
       Jayen Patel                                    1545 Mayfield Road                                  CEO                                   100
                                                      Alpharetta, GA 30009



29. Within 1 year before the filing of this case, did the debtor have officers, directors, managing members, general partners, members in
    control of the debtor, or shareholders in control of the debtor who no longer hold these positions?


            No
            Yes. Identify below.


30. Payments, distributions, or withdrawals credited or given to insiders
    Within 1 year before filing this case, did the debtor provide an insider with value in any form, including salary, other compensation, draws, bonuses,
    loans, credits on loans, stock redemptions, and options exercised?

            No
            Yes. Identify below.

               Name and address of recipient                    Amount of money or description and value of              Dates              Reason for
                                                                property                                                                    providing the value
       30.1 Jayen Patel
       .    1545 Mayfield Road
               Alpharetta, GA 30009                             12518.10                                                 Various            Salary

               Relationship to debtor
               Principal


31. Within 6 years before filing this case, has the debtor been a member of any consolidated group for tax purposes?

            No
            Yes. Identify below.

    Name of the parent corporation                                                                             Employer Identification number of the parent
                                                                                                               corporation



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32. Within 6 years before filing this case, has the debtor as an employer been responsible for contributing to a pension fund?

            No
            Yes. Identify below.

    Name of the pension fund                                                                                   Employer Identification number of the parent
                                                                                                               corporation

 Part 14:     Signature and Declaration

      WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
      connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both.
      18 U.S.C. §§ 152, 1341, 1519, and 3571.

      I have examined the information in this Statement of Financial Affairs and any attachments and have a reasonable belief that the information is true
      and correct.

      I declare under penalty of perjury that the foregoing is true and correct.

 Executed on         June 21, 2019

 /s/ Jayen Patel                                                        Jayen Patel
 Signature of individual signing on behalf of the debtor                Printed name

 Position or relationship to debtor

Are additional pages to Statement of Financial Affairs for Non-Individuals Filing for Bankruptcy (Official Form 207) attached?
   No
   Yes




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                                                               United States Bankruptcy Court
                                                                      Northern District of Georgia
 In re       Jay2, Inc.                                                                                       Case No.
                                                                                    Debtor(s)                 Chapter       7

                          DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTOR(S)
1.     Pursuant to 11 U .S.C. § 329(a) and Fed. Bankr. P. 2016(b), I certify that I am the attorney for the above named debtor(s) and that
       compensation paid to me within one year before the filing of the petition in bankruptcy, or agreed to be paid to me, for services rendered or to
       be rendered on behalf of the debtor(s) in contemplation of or in connection with the bankruptcy case is as follows:
             For legal services, I have agreed to accept                                                  $                     9,500.00
             Prior to the filing of this statement I have received                                        $                     9,500.00
             Balance Due                                                                                  $                         0.00

2.     The source of the compensation paid to me was:

                  Debtor                  Other (specify):           Debtor and Principal

3.     The source of compensation to be paid to me is:

                  Debtor                  Other (specify):

4.          I have not agreed to share the above-disclosed compensation with any other person unless they are members and associates of my law firm.

            I have agreed to share the above-disclosed compensation with a person or persons who are not members or associates of my law firm. A
            copy of the agreement, together with a list of the names of the people sharing in the compensation is attached.

5.       In return for the above-disclosed fee, I have agreed to render legal service for all aspects of the bankruptcy case, including:

       a.   Analysis of the debtor's financial situation, and rendering advice to the debtor in determining whether to file a petition in bankruptcy;
       b.   Preparation and filing of any petition, schedules, statement of affairs and plan which may be required;
       c.   Representation of the debtor at the meeting of creditors and confirmation hearing, and any adjourned hearings thereof;
       d.   [Other provisions as needed]


6.     By agreement with the debtor(s), the above-disclosed fee does not include the following service:
               Adversary proceedings and contested matters.
                                                                             CERTIFICATION
       I certify that the foregoing is a complete statement of any agreement or arrangement for payment to me for representation of the debtor(s) in
 this bankruptcy proceeding.

     June 21, 2019                                                                 /s/ William A. Rountree
     Date                                                                          William A. Rountree
                                                                                   Signature of Attorney
                                                                                   Rountree, Leitman & Klein, LLC
                                                                                   Century Plaza I
                                                                                   2987 Clairmont Road, Ste 175
                                                                                   Atlanta, GA 30329
                                                                                   404-584-1244
                                                                                   Name of law firm




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                                                                      Northern District of Georgia
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                                                                                   Debtor(s)         Chapter    7




                                               VERIFICATION OF CREDITOR MATRIX


I, the of the corporation named as the debtor in this case, hereby verify that the attached list of creditors is true and correct to the best

of my knowledge.




 Date:       June 21, 2019                                              /s/ Jayen Patel
                                                                        Jayen Patel/
                                                                        Signer/Title




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                        American Alarm Corporation Inc




                        American Express
                        PO Box 1270
                        Newark, NJ 07101



                        American Fire & Safety
                        1419 Woodmont Lane
                        Atlanta, GA 30318



                        Atlanta Coffee Supply




                        Atlanta Restaurant Services




                        Beverage Control




                        Breit MF EP I, LLC
                        Shopcore Properties
                        P.O. Box 27627
                        San Diego, CA 92198



                        Cintas
                        P.O. Box 630910
                        Cincinnati, OH 45263-0910



                        Comcast Business
                        P.O. Box 71211
                        Charlotte, NC 28272-1211



                        Comtrex Georgia
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                    Dekalb County Environ. Health




                    Dekalb County Sanitation
                    3720 Leroy Scott Dr.
                    Decatur, GA 30032



                    Dekalb County Watershed Dept




                    Dulwich Group
                    232 19th Street
                    Suite 7200
                    Atlanta, GA 30303



                    Ecolab Pest
                    26252 Network Place
                    Chicago, IL 60673



                    Empire Distributors Inc.




                    Fresh Harvest
                    1230A Six Flags Road
                    Austell, GA 30168



                    Gas South
                    P.O. Box 530552
                    Atlanta, GA 30353-0552



                    Georgia Department of Labor
                    148 Andew Young Int'l Blvd. NE
                    Atlanta, GA 30303
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                    Georgia Department of Revenue
                    1800 Centrury Center Blvd
                    Suite 9100
                    Atlanta, GA 30345



                    Georgia Power
                    241 Ralph McGill Blvd NE
                    Atlanta, GA 30308



                    Halperns Steak & Seafood
                    P.O. Box 116421
                    Atlanta, GA 30368



                    Internal Revenue Service
                    PO Box 7346
                    Philadelphia, PA 19101



                    JAN-PRO of Atlanta
                    1341 Capital Circle
                    Suite 100
                    Marietta, GA 30067



                    Jayen Patel
                    1545 Mayfield Road
                    Alpharetta, GA 30009



                    Narenda Patel
                    10375 Autry Place
                    Alpharetta, GA 30022



                    Nareshm Inc.
                    10900 Medlock Bridge Road
                    Suite 201
                    Alpharetta, GA 30022



                    Renasant Bank
                    5225 Windward Parkway
                    Alpharetta, GA 30004
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                    Renasant Visa
                    5225 Windward Parkway
                    Alpharetta, GA 30004



                    Simplicitea
                    2571 Andover Drive
                    Atlanta, GA 30360



                    Small Business Administration
                    2 North 20th Street
                    Suite 320
                    Birmingham, AL 35203



                    Sysco Foods
                    2225 Riverdale Rd.
                    College Park, GA 30337



                    United Bureau Collection Agcy
                    5620 Southwyck Blvd
                    Toledo, OH 43614



                    Wellstar
                    PO Box 277356
                    Atlanta, GA 30384
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                                           CORPORATE OWNERSHIP STATEMENT (RULE 7007.1)

Pursuant to Federal Rule of Bankruptcy Procedure 7007.1 and to enable the Judges to evaluate possible disqualification or
recusal, the undersigned counsel for Jay2, Inc. in the above captioned action, certifies that the following is a (are)
corporation(s), other than the debtor or a governmental unit, that directly or indirectly own(s) 10% or more of any class of
the corporation's(s') equity interests, or states that there are no entities to report under FRBP 7007.1:



    None [Check if applicable]




 June 21, 2019                                                         /s/ William A. Rountree
 Date                                                                  William A. Rountree
                                                                       Signature of Attorney or Litigant
                                                                       Counsel for Jay2, Inc.
                                                                       Rountree, Leitman & Klein, LLC
                                                                       Century Plaza I
                                                                       2987 Clairmont Road, Ste 175
                                                                       Atlanta, GA 30329
                                                                       404-584-1244




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